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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK



 SEN GAO, CONGLI HUO, RUBIN WANG,
 LUXIAO XU, individually and on behalf of all
 others similarly situated,

           Plaintiffs,

 v.
                                                         Case No: 22-cv-07499-BMC
 SINGULARITY FUTURE TECHNOLOGY,
 LTD. F/K/A SINO-GLOBAL SHIPPING
 AMERICA LTD., YANG JIE, LEI CAO,
 ZHIKANG HUANG, TUO PAN, XIAOHUAN
 HUANG, JING SHAN, TIELING LIU, JING
 WANG, LEI NIE, JOHN LEVY, THOR MINER,
 INC., and GOLDEN MAINLAND, INC,

           Defendants.


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law dated

November 20, 2023 in support of Defendant Lei Cao’s Motion to Dismiss the Second Amended

Complaint and upon all of the prior pleadings and proceedings herein, Defendant Lei Cao, by and

through his attorneys, King & Wood Mallesons LLP, will move this Court, presiding honorable

Judge Brian M. Cogan, at the United States Courthouse located at United States District Court for

the Eastern District of New York, 225 Cadman Plaza East, Brooklyn, NY 11201, at a date and

time to be designated by the Court, for an order dismissing the Second Amended Complaint against

Mr. Cao with prejudice pursuant to Federal Rules of Civil Procedure 12(b)(6).

       PLEASE TAKE NOTICE that, opposing papers, if any, must be served upon the

undersigned by January 5, 2024.




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DATED: New York, New York
       November 20, 2023                 Respectfully Submitted,


                                         KING & WOOD MALLESONS, LLP

                                         By: /s/ Aaron T. Wolfson
                                         Aaron T. Wolfson (AW7218)
                                         King & Wood Mallesons
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                                         New York, NY 10110
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                                         Attorneys for Defendant Lei Cao




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